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                                         ‭IN THE UNITED STATES DISTRICT COURT‬
                                              ‭FOR THE DISTRICT OF COLUMBIA‬



             ‭United States of America,‬‭et al.‬‭,‬

                                                  ‭Plaintiffs,‬         ‭Case No. 1:20-cv-03010-APM‬

               ‭v.‬                                                     ‭HON. AMIT P. MEHTA‬

             ‭Google LLC,‬

                                                  ‭Defendant.‬




             ‭State of Colorado,‬‭et al.‬‭,‬

                                                  ‭Plaintiffs,‬         ‭Case No. 1:20-cv-03715-APM‬

               ‭v.‬                                                     ‭HON. AMIT P. MEHTA‬

             ‭Google LLC,‬

                                                  ‭Defendant.‬



                                         ‭DECLARATION OF SANG EUN (KATE) LEE‬

            ‭I, Sang Eun Lee (using Kate as my first name at Google), declare as follows:‬

                          ‭1.‬   ‭I am currently employed by Google LLC (Google) as a legal director. I graduated‬

            ‭from the University of New Hampshire Franklin Pierce School of Law in 1998 and have been an‬

            ‭in-house counsel for Google since 2010. I am a member of the State of New York Bar.‬

                       ‭2.‬      ‭Since late 2017, my responsibilities have included providing legal support to the‬

            ‭Google product and business teams that develop and distribute the Android mobile operating‬

            ‭system and Google applications that are developed to run on the Android operating system.‬

            ‭During that time, I have also received information from Google employees regarding the‬
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            ‭negotiation and analysis of agreements between Google and a range of partners who participate‬

            ‭in the Android ecosystem, including original equipment manufacturers (OEMs) that make‬

            ‭smartphones and other Android devices as well as wireless carriers that sell those devices to‬

            ‭consumers.‬

                     ‭3.‬    ‭My work as in-house counsel sometimes involves determining the commercial‬

            ‭sensitivity of information relating to the Android ecosystem and evaluating whether disclosing‬

            ‭the information would harm Google’s competitive standing. That includes, for example,‬

            ‭determining whether to seek confidential treatment for materials submitted to regulators and‬

            ‭deciding whether information shared with business partners should be subject to a non-disclosure‬

            ‭agreement.‬

                     ‭4.‬    ‭I understand that the plaintiffs in this case have sought Google’s views on whether‬

            ‭particular documents should be made public at trial in this matter, and I have reviewed certain of‬

            ‭those documents because they relate to the Android ecosystem, apps developed by Google for‬

            ‭Android devices, or agreements with Android OEMs and carriers.‬

                     ‭5.‬    ‭I have reviewed PXR0125 (GOOG-DOJ-33768448), which appears to be a copy‬

            ‭of a March 2024 email thread with the subject line “Samsung / Gemini.” The document contains‬

            ‭highly sensitive details regarding negotiations with Samsung regarding a potential commercial‬

            ‭deal involving Google’s Gemini product. In particular, disclosure of the following information is‬

            ‭likely to cause significant harm to Google’s competitive standing.‬

                     ‭6.‬    ‭The document contains the specific financial terms of offers Google was‬

            ‭considering making to Samsung. Disclosure of these specific financial terms would harm‬

            ‭Google’s competitive standing relative to other AI providers, who likewise have been engaged in‬

            ‭discussions with partners regarding distribution of AI products. This would allow competitors an‬



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            ‭unearned advantage in formulating proposals to provide similar services, and would be‬

            ‭especially severe if the forced disclosure only affected Google,‬‭i.e.‬‭, if all of Google’s competitors‬

            ‭knew what Google was willing to agree to, while Google continued to have no non-public‬

            ‭knowledge of what other companies have offered or agreed to. It would also harm Google’s‬

            ‭competitive standing in negotiations with Samsung and other partners if Google were required to‬

            ‭disclose the internal thinking regarding potential offer terms, including the precise offer that‬

            ‭would be Google’s “breakeven scenario.” Google seeks to redact only the specific financial‬

            ‭terms in the document, and not the qualitative discussion of those terms and other strategic‬

            ‭considerations in the document.‬

                     ‭7.‬    ‭I have reviewed RDX0040 (GOOG-DOJ-33859197), which appears to be a copy‬

            ‭of a September 2024 presentation titled “Samsung-Google Q3 Marketing Exec Workshop.” The‬

            ‭document contains highly sensitive details regarding Google’s Circle to Search product. In‬

            ‭particular, disclosure of the following information is likely to cause significant harm to Google’s‬

            ‭competitive standing.‬

                     ‭8.‬    ‭The document contains non-public product usage metrics for Google’s “Circle to‬

            ‭Search” product. Public disclosure is likely to cause significant harm to Google’s competitive‬

            ‭standing, including by allowing competitors that offer or may in the future offer similar products‬

            ‭to base their own product design and/or strategic planning on Google’s non-public product usage‬

            ‭metrics. Google seeks to redact only the specific usage metrics in the document, and not the‬

            ‭qualitative discussion of those metrics and other strategic considerations in the document.‬

                     ‭9.‬    ‭I have reviewed PXR0147 (GOOG-DOJ-33941334), which appears to be a copy‬

            ‭of a document regarding negotiations with certain partners regarding commercial deals related to‬

            ‭Android devices. The document contains highly sensitive details regarding those negotiations.‬



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            ‭In particular, disclosure of the following information is likely to cause significant harm to‬

            ‭Google’s competitive standing.‬

                     ‭10.‬   ‭First, the document contains the specific financial terms regarding negotiations‬

            ‭with Samsung. Disclosure of these specific financial terms would harm Google’s competitive‬

            ‭standing relative to other search and AI providers, who likewise have been engaged in‬

            ‭discussions with partners regarding distribution of similar products. This would allow‬

            ‭competitors an unearned advantage in formulating proposals to provide similar services, and‬

            ‭would be especially severe if the forced disclosure only affected Google,‬‭i.e.‬‭, if all of Google’s‬

            ‭competitors knew what Google was willing to agree to, while Google continued to have no‬

            ‭non-public knowledge of what other companies have offered or agreed to. It would also harm‬

            ‭Google’s competitive standing in negotiations with Samsung and other partners if Google were‬

            ‭required to disclose specific financial terms from internal documents during negotiations,‬

            ‭including the precise amount Google was forecasting paying to Samsung under then-current‬

            ‭deals and the amount that Google was considering offering to Samsung. Google seeks to redact‬

            ‭only the specific financial terms in the document, and not the qualitative discussion of those‬

            ‭terms and other strategic considerations in the document.‬

                     ‭11.‬   ‭Second, the document contains the specific financial terms regarding potential‬

            ‭future cloud negotiations with Vodafone, a British wireless carrier that operates predominantly‬

            ‭outside the United States. Disclosure of these specific financial terms would harm Google’s‬

            ‭competitive standing relative to other cloud providers, who likewise have been engaged in‬

            ‭discussions with partners regarding cloud deals. It would also harm Google’s competitive‬

            ‭standing in negotiations with Vodafone and other partners if Google were required to disclose‬

            ‭specific financial terms from internal documents during negotiations, including the precise‬



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            ‭amount Google was forecasting for a potential future cloud deal. Google seeks to redact only the‬

            ‭specific financial terms in the document, and not the qualitative discussion of those terms and‬

            ‭other strategic considerations in the document.‬

                     ‭12.‬   ‭I have reviewed PXR0278 (GOOG-DOJ-34492097), which appears to be a copy‬

            ‭of a September 2024 presentation titled “Samsung Agreements.” The document contains highly‬

            ‭sensitive details regarding negotiations with Samsung regarding commercial deals related to‬

            ‭Android devices. In particular, disclosure of the following information is likely to cause‬

            ‭significant harm to Google’s competitive standing.‬

                     ‭13.‬   ‭First, the document contains the specific financial terms regarding negotiations‬

            ‭with Samsung. Disclosure of these specific financial terms would harm Google’s competitive‬

            ‭standing relative to other search, messaging, and AI providers, who likewise have been engaged‬

            ‭in discussions with partners regarding distribution of similar products. This would allow‬

            ‭competitors an unearned advantage in formulating proposals to provide services, and would be‬

            ‭especially severe if the forced disclosure only affected Google, i.e., if all of Google’s competitors‬

            ‭knew what Google was willing to agree to, while Google continued to have no non-public‬

            ‭knowledge of what other companies have offered or agreed to. It would also harm Google’s‬

            ‭competitive standing in negotiations with Samsung and other partners if Google were required to‬

            ‭disclose specific financial terms from internal documents during negotiations. Google seeks to‬

            ‭redact only the specific financial terms in the document, and not the qualitative discussion of‬

            ‭those terms and other strategic considerations in the document.‬

                     ‭14.‬   ‭Second, the document includes recent and specific assumptions or projections‬

            ‭regarding the proposed deals. Disclosure of the numbers associated with these deal models‬

            ‭would harm Google’s competitive standing in future negotiations with Samsung and other‬



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            ‭partners because they would have access to the details of how Google analyzed a potential deal,‬

            ‭but Google would not have corresponding access to any of their internal analyses. For much the‬

            ‭same reason, disclosure would harm Google’s competitive standing in relation to other search,‬

            ‭messaging, and AI providers. Google seeks to redact only the specific numbers used in‬

            ‭connection with this recent internal modeling, and not the qualitative descriptions of them that‬

            ‭appear in the document.‬

                                                     ‭*‬     ‭*‬         ‭*‬   ‭*‬

            ‭I declare under penalty of perjury that the foregoing is true and correct.‬


                              8th day of April 2025, in _______________________________.‬
            ‭Executed on this ____                       Mountain View,California



                                                                          ‭ _________________________‬
                                                                          _
                                                                          ‭Sang Eun (Kate) Lee‬




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